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Attorney or Party Name, Address, Telephone & FAX                          FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Christopher B. Ghio (State Bar No. 259094)
DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, CA 92101
Telephone: 619.400.0500; Facsimile: 619.400.0501
christopher.ghio@dinsmore.com
and
M. Trent Spurlock (admitted pro hac vice)
Suzanne M. Marino (admitted pro hac vice)
101 S. Fifth St., Suite 2500
Louisville, KY 40202
DINSMORE & SHOHL LLP
     Individual appearing without attorney
     Attorney for: Trustee, Richard A. Marshack

                                     UNITED STATES BANKRUPTCY COURT
                       CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                       DIVISION

In re:
THE LITIGATION PRACTICE GROUP P.C.                                        CASE NO.:               8:23-bk-10571-SC

                                                                          ADVERSARY NO.: 8:23-ap-01046-SC

                                                                          CHAPTER:                11
                                                           Debtor(s).
RICHARD A. MARSHACK,
Chapter 11 Trustee,
                                                                                            JOINT STATUS REPORT
                                                                                               [LBR 7016-1(a)(2)]

                                                                          DATE:                 03/19/2025
                                                          Plaintiff(s).
                                                                          TIME:
                           vs.                                            COURTROOM:
TONY DIAB, an individual; DANIEL S. MARCH, an                             ADDRESS:              411 W. Fourth Street
individual; ROSA BIANCA LOLI, an individual; LISA                                               Santa Ana, CA 92701
COHEN, an individual; WILLIAM TAYLOR CARSS, an
individual; et al.
                                                      Defendant(s).


The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1(a)(2):

A. PLEADINGS/SERVICE:
    1. Have all parties been served with the complaint/counterclaim/cross-claim, etc.                                        Yes              No
       (Claims Documents)?
    2. Have all parties filed and served answers to the Claims Documents?                                                    Yes              No
    3. Have all motions addressed to the Claims Documents been resolved?                                                     Yes              No
    4. Have counsel met and conferred in compliance with LBR 7026-1?                                                         Yes              No




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    5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
       explain below (or on attached page):

         See attachment A(5)




B. READINESS FOR TRIAL:

    1.       When will you be ready for trial in this case?
                                 Plaintiff                                                           Defendant
         Estimated December 2025
                                                                                 Unknown at this time.



    2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further
       delay.
                                Plaintiff                                        Defendant
         With over 25 defendants, many of whom have not          Substantial discovery and law and motion practice
         responded, substantial disclosures, productions, and
         corresponding subpoenas for records and depositions


    3. When do you expect to complete your discovery efforts?
                                Plaintiff                                    Defendant
       Unknown at this time but not earlier than November     Unknown at this time.
       2025.
       Initial disclosures have been produced.

    4. What additional discovery do you require to prepare for trial?
                               Plaintiff                                         Defendant
       Written discovery, expert discovery, individual and        Requests for Production of Documents, Requests for
       PMK depositions, and subpoenas of numerous                 Admissions, Interrogatories, subpoenas, depositions of
       financial records                                          expert and non-expert witnesses, and related third
                                                                  party discovery, as necessary.
C. TRIAL TIME:

    1. What is your estimate of the time required to present your side of the case at trial (including rebuttal stage if
       applicable)?
                               Plaintiff                                         Defendant
       14-21 days for all defendants in the 1046 Action           Unknown at this time, but no less than three to five
                                                                  days


    2. How many witnesses do you intend to call at trial (including opposing parties)?
                              Plaintiff                                          Defendant
       Based on information known to date, Trustee                 Unknown at this time
       estimates between 20-30 as to all Defendants in the
       1046 Action



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    3. How many exhibits do you anticipate using at trial?
                               Plaintiff                                                        Defendant
       Based on information known to date having initial                            Unknown at this time
       disclosures, Trustee estimates between 200-400


D. PRETRIAL CONFERENCE:

    A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
    be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
    this case, please so note below, stating your reasons:

                               Plaintiff                                                                 Defendant
     Pretrial conference         is      is not requested                     Pretrial conference         is    is not requested
     Reasons:                                                                 Reasons:
     Given the number of defendants, coordination at a trial                   Narrow issues for trial
     conference is requested.


                             Plaintiff                                                              Defendant
     Pretrial conference should be set after:                                 Pretrial conference should be set after:
     (date) 10/01/2025                                                        (date) Unknown at this time.


E. SETTLEMENT:

    1. What is the status of settlement efforts?
        Trustee has resolved his claims as against Phoenix Law, PC, Maria Eeah Tan, William Ty Carrs, Maverick
        Bankcard, Payliance, Stripe, and FIS, among others. Trustee continues his efforts to discuss potential resolution
        of claims as against all non-defaulted defendants.
          Defendant CLG believes the claims against it lack merit and is engaging with the Trustee on the matter.
    2. Has this dispute been formally mediated?           Yes        No
       If so, when?



    3. Do you want this matter sent to mediation at this time?

                                 Plaintiff                                                               Defendant

                                 Yes           No                                                        Yes           No




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F. FINAL JUDGMENT/ORDER:

     Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
     proceeding must raise its objection below. Failure to select either box below may be deemed consent.

                             Plaintiff                                                                Defendant
          I do consent                                                             I do consent
          I do not consent                                                         I do not consent
      to the bankruptcy court’s entry of a final judgment                      to the bankruptcy court’s entry of a final judgment
      and/or order in this adversary proceeding.                               and/or order in this adversary proceeding.


G.   ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (Use additional page if necessary)




Respectfully submitted,

Date: 03/19/2025                                                                Date:

Dinsmore & Shohl LLP
__________________________________________                                       Pachulski Stang Ziehl & Jones LLP
                                                                                ___________________________________________
Printed name of law firm                                                        Printed name of law firm


__________________________________________                                      /s/ Ira Kharasch
                                                                                ___________________________________________
Signature                                                                       Signature

 Christopher B. Ghio / M. Trent Spurlock
__________________________________________                                       Ira Kharasch
                                                                                ___________________________________________
Printed name                                                                    Printed name

              Trustee, Richard A. Marshack
Attorney for: ________________________________                                  Attorney for: _________________________________
                                                                                              Consumer Legal Group P.C.




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 1                                          ATTACHMENT A(5)

 2                              Adversary Proceeding No. 8:23-ap-01046-SC

 3 PLAINTIFF, RICHARD MARSHACK

 4         1.      Pursuant to the Court's order granting leave to file Plaintiff's Fifth Amended Complaint

 5 [1046 Dkt. 647], the Trustee removed all dismissed Defendants from the caption of the pleading. On

 6 November 18, 2024, Plaintiff filed his 5AC [1046 Dkt. 653]. Out of the remaining thirty (30)

 7 defendants, five (5) of the named defendants have filed answers to the 5AC. Those defendants include

 8 Consumer Legal Group, PC [1046 Dkt. 668], LGS HoldCo, LLC [1046 Dkt. 668], Bianca Loli [Dkt.

 9 666], Scott Eadie [1046 Dkt. 662], and Greyson Law Center, PC [1046 Dkt. 661]. The status of the

10 remaining twenty-five (25) named Defendants is detailed below.

11              a. The Court granted the joint stipulation with EPPS to extend the deadline for it to

12                 respond to the complaint until March 31, 2025 [1046 Dkt. 705].

13              b. Defaults have been entered, pending default judgment, as to two (2) named

14                 Defendants. These include:

15                      i. Wes Thomas [1046 Dkt. 145], and

16                     ii. Seamless Chex, Inc. [Dkt. 153].

17              c. Plaintiff dismissed Payliance, LLC after the 5AC was filed pursuant to the modified

18                 order granting the Trustee's motion to compromise.

19              d. Pursuant to Trustee’s request [1046 Dkt. 690] the following three (3) Defendants have

20                 been dismissed, without prejudice:

21                      i. Vulcan Consulting Group, LLC;

22                     ii. Prime Logix, LLC; and

23                    iii. Maverick Management Group, LLC.

24              e. Pursuant to a Stipulation for Entry of Judgment [1046 Dkt. 719], the following two (2)

25                 Defendants have stipulated to entry of judgment in this matter:

26                      i. Tony Diab; and

27                     ii. BAT, Inc. d/b/a Coast Processing.

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 1          f. Pursuant to Trustee’s Motion to Dismiss [1046 Dkt. 713], Trustee has dismissed the

 2             following nine (9) Defendants without prejudice:

 3                 i. Jimmy Chorr,

 4                 ii. Guardian Processing, LLC;

 5                iii. Teracel Block Chain Fund II, LLC;

 6                iv. Oakstone Legal Group, PC;

 7                 v. Eng Taing;

 8                vi. Touzi Capital, LLC;

 9                vii. Dongliang Jiang;

10               viii. Heng Taing; and

11                ix. PECC Corp.

12          g. Two (2) of the named defendants previously filed answers to Plaintiff’s Second, Third

13             and/or Fourth Amended Complaints and appear to stand on such answers to be their

14             response to the 5AC as there have been no further substantive changes since that time

15             as it relates to them. KST Data, Inc. v. DXC Tech. Co., 980 F.3d 709, 715 (9th Cir.

16             2020) (quoting Stanley Works v. Snydergeneral Corp., 781 F. Supp. 659, 665 (E.D.

17             Cal. 1990) [“ ‘[a] defendant is not required to file a new answer to an amended

18             complaint when the allegations in the amended complaint do not ‘change the theory

19             or scope of the case.’”].) These Defendants include:

20                 i. OptimumBank Holdings, Inc. d/b/a Optimum Bank [1046 Dkt. 538],

21                 ii. Daniel March [1046 Dkt. 531].

22          h. Pursuant to Trustee’s Notice of Dismissal (1046 Dkt. 726), the following five (5)

23             Defendants have been dismissed, without prejudice:

24                 i. Merit Fund, LLC,

25                 ii. Dwolla, Inc.,

26                iii. Max Chou,

27                iv. World Global, and

28                 v. Revolv3, Inc.

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 1               i. The Trustee intends to dismiss, default, or take other appropriate action as to to

 2                  Defendant Equipay.

 3          2.      The Trustee, with the assistance of the Court, employed financial accountants

 4 Grobstein Teeple, LLP [Dkt. 169], is working diligently to complete its forensic account to prepare

 5 and file for default judgment, as appropriate given this matter remains in the early stages of discovery.

 6 As discussed more thoroughly below, the Trustee continues to work with banks and other financial

 7 institutions in order to obtain the necessary records to trace and locate Estate funds.

 8

 9 DEFENDANT, CONSUMER LEGAL GROUP, PC

10

11          3.      On December 23, 2024, Defendant Consumer Legal Group, PC (“CLG”) answered

12 Plaintiff’s Fifth Amended Complaint [1046 Dkt. 668] and filed a Motion for Order Vacating Motion

13 for Order: (A) Vacating or, in the alternative, modifying as to Consumer Legal Group P.C. That

14 Certain Order Entered June 23, 2023 on Trustee, Richard Marshack’s Omnibus Motion Granting 1)

15 Turnover of Estate Property and Recorded Information Pursuant to 11 U.S.C. § 542; 2) Preliminary

16 Injunction; 3) Lock-Out; 4) Redirection of United States Parcel Mail Services; 5) Order to Show

17 Cause; and 6) Other Relief [Dkt. No. 70]; (B) Releasing Funds Frozen at Optimum Bank to CLG;

18 (C) And Granting Related Relief to the Honorable Scott C. Clarkson, United States Bankruptcy

19 Judge; the Office of the United States Trustee; the Chapter 11 Trustee; the Above-Captioned Debtor,

20 and Other Parties in Interest, and Their Respective Counsel of Record, if any [1046 Dkt. 667]

21 (“CLG’s Motion”), which was set for a hearing on January 15, 2025.

22          4.      On January 2, 2025, the Trustee and CLG entered into a stipulation, [1046 Dkt. 675]

23 (the “First CLG Stipulation”), to continue the hearing in order to discuss and potentially resolve issues

24 related to CLG’s Motion. The First CLG Stipulation was approved by order entered on January 3,

25 2025. [1046 Dkt. 677], and the hearing was continued to February 12, 2025. Due to the Trustee and

26 CLG’s desire for additional time to discuss and potentially resolve issues related to CLG’s Motion,

27 the parties entered into a second stipulation on January 21, 2025 [1046 Dkt. 691] (the “Second CLG

28 Stipulation”). The Second CLG Stipulation was approved by order entered on January 22, 2025 [1046

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 1 Dkt. 698], and the hearing was continued to March 5, 2025. Due to the Trustee and CLG’s desire for

 2 additional time to discuss and potentially resolve issues related to CLG’s Motion, the parties entered

 3 into a third stipulation on February 19, 2025 [1046 Dkt. 715] (the “Third CLG Stipulation”). The

 4 Third CLG Stipulation was approved by order entered on February 20, 2025 [1046 Dkt. 716], and the

 5 hearing was continued to April 2, 2025. Due to the Trustee and CLG’s desire for additional time to

 6 discuss and potentially resolve issues related to CLG’s Motion, the parties entered into a fourth

 7 stipulation on March 19, 2025 [1046 Dkt. 724] (the “Fourth CLG Stipulation”), requesting to move

 8 the Trustee’s deadline to file an opposition to CLG’s Motion to March 25, 2025, and the deadline for

 9 CLG to file a reply to April 1, 2025. The Fourth CLG Stipulation was approved by order entered on

10 March 19, 2025 [1046 Dkt. 728].

11          5.     On March 3, 2025, the Trustee entered into a Stipulation with Defendant Tony Diab

12 for Entry of Judgment [1046 Dkt. 719] (“Diab Stipulation”). On March 12, 2025, the Trustee filed a

13 Motion for Order Approving Stipulation Between Trustee of the LPG Liquidation Trust and Tony

14 Diab [1046 Dkt. 722] (“Trustee’s Motion”). The Court set the Trustee’s Motion for a hearing on

15 April 2, 2025 [1046 Dkt. 723]. On March 19, 2025, the Trustee and CLG entered into a stipulation,

16 [1046 Dkt. 725] (the “Trustee Stipulation”), requesting to move CLG’s deadline to file an opposition

17 to the Trustee’s Motion to March 25, 2025, and the deadline for the Trustee to file a reply to April 1,

18 2025. The Trustee Stipulation was approved by order entered on March 19, 2025 [1046 Dkt. 727].

19 Both CLG’s Motion and the Trustee’s Motion are set for a hearing on April 2, 2025.

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 1                                           ATTACHMENT G

 2                              Adversary Proceeding No. 8:23-ap-01046-SC

 3 PLAINTIFF, RICHARD MARSHACK

 4          1.      At this time there are seven (7) named defendants who have answered the operative

 5 Fourth Amended Complaint. Trustee is diligently working with all defendants and third parties to

 6 obtain discovery, informal discovery and work towards potential resolution in order to narrow the

 7 scope of discovery and trial in this matter, as the information provided to Trustee permits.

 8          2.      Over 100 million individual electronically stored documents have been produced to

 9 the Trustee to date. Moreover, the Trustee continues to work with third-party financial institutions to

10 obtain substantial bank records in order to trace and locate Estate Assets necessary to prove his claims

11 against the defendants. This process, however, has caused significant delays with banks requesting

12 additional time due to the number of target entities and individuals as well as each holding multiple

13 if not more than five to ten different bank accounts at the same institution. Notwithstanding the

14 unforeseen delays in obtaining such records, the Trustee remains vigilant in obtaining such records

15 and quickly reviewing them upon receipt in order to move this and other matters to their natural

16 conclusion, judgment.

17          3.      Trustee has completed the 7026 conference and initial disclosures as to answering

18 Defendants, Bianca Loli, Consumer Legal Group, PC, LGS HoldCo, LLC, and Scott Eadie.

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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

DINSMORE & SHOHL LLP
655 West Broadway, Suite 800
San Diego, California 92101

A true and correct copy of the foregoing document entitled (specify): JOINT STATUS REPORT [LBR 7016-1 (a)(2)] will
be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On March
19, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Keith Barnett                                                              keith.barnett@troutman.com
on behalf of Defendant Payliance, LLC                                      kelley.wade@troutman.com

                                                                         Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On March 19, 2025, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

                                                        JUDGE'S COPY
                                                  Honorable Scott C. Clarkson
                                   United States Bankruptcy Court. Central District of California
                                        Ronald Reagan Federal Building and Courthouse
                                       411 West Fourth Street, Suite 5130 / Courtroom 5C
                                                   Santa Ana, CA 92701-4593
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on March 19, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 March 19, 2025                       Angelica Urena                                 /s/ Angelica Urena
 Date                        Printed Name                                            Signature




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1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Bradford Barnhardt                                                         bbarnhardt@marshackhays.com
on behalf of Plaintiff Richard A. Marshack                                 bbarnhardt@ecf.courtdrive.com
                                                                           alinares@ecf.courtdrive.com
Bradford Barnhardt                                                         bbarnhardt@marshackhays.com
on behalf of Trustee Richard A. Marshack (TR)                              bbarnhardt@ecf.courtdrive.com
                                                                           alinares@ecf.courtdrive.com
Eric Bensamochan                                                           eric@eblawfirm.us
on behalf of Interested Party Courtesy NEF                                 G63723@notify.cincompass.com
Christopher Celentino                                                      christopher.celentino@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                 caron.burke@dinsmore.com
Christopher Celentino                                                      christopher.celentino@dinsmore.com
on behalf of Trustee Richard A Marshack (TR)                               caron.burke@dinsmore.com
Leslie A Cohen                                                             leslie@lesliecohenlaw.com
on behalf of Defendant Rosa Bianca Loli                                    jaime@lesliecohenlaw.com
                                                                           clare@lesliecohenlaw.com
Leslie A Cohen                                                             leslie@lesliecohenlaw.com
on behalf of Interested Party Courtesy NEF                                 jaime@lesliecohenlaw.com
                                                                           clare@lesliecohenlaw.com
Michael T Delaney                                                          mdelaney@bakerlaw.com
on behalf of Defendant Fidelity National Information                       tbreeden@bakerlaw.com
Services, Inc. dba FIS
Alan W Forsley                                                             alan.forsley@flpllp.com
on behalf of Interested Party Courtesy NEF                                 awf@fkllawfirm.com
                                                                           awf@fl-lawyers.net
                                                                           addy@flpllp.com
                                                                           andrea@flpllp.com
Jeremy Freedman                                                            jeremy.freedman@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                 bonnie.connolly@dinsmore.com
Jeremy Freedman                                                            jeremy.freedman@dinsmore.com
on behalf of Trustee Richard A. Marshack (TR)                              bonnie.connolly@dinsmore.com
Christopher Ghio                                                           christopher.ghio@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                 angelica.urena@dinsmore.com
Christopher Ghio                                                           christopher.ghio@dinsmore.com
on behalf of Trustee Richard A. Marshack (TR)                              angelica.urena@dinsmore.com
Eric D Goldberg                                                            eric.goldberg@dlapiper.com
on behalf of Defendant Stripe, Inc.                                        eric-goldberg-1103@ecf.pacerpro.com
Richard H Golubow                                                          rgolubow@wghlawyers.com
on behalf of Creditor Debt Validation Fund II, LLC                         jmartinez@wghlawyers.com
                                                                           svillegas@wghlawyers.com
Richard H Golubow                                                          rgolubow@wghlawyers.com
on behalf of Creditor MC DVI Fund 1, LLC                                   jmartinez@wghlawyers.com
                                                                           svillegas@wghlawyers.com
Richard H Golubow                                                          rgolubow@wghlawyers.com
on behalf of Creditor MC DVI Fund 2, LLC                                   jmartinez@wghlawyers.com
                                                                           svillegas@wghlawyers.com
Veneeta Jaswal                                                             veneeta.jaswal@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                 bonnie.connolly@dinsmore.com
Sweeney Kelly                                                              kelly@ksgklaw.com
on behalf of Defendant Fidelity National Information
Services, Inc.

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Sweeney Kelly                                                              kelly@ksgklaw.com
on behalf of Defendant Fidelity National Information
Services, Inc. dba FIS
Sweeney Kelly                                                              kelly@ksgklaw.com
on behalf of Defendant Worldpay Group
Sweeney Kelly                                                              kelly@ksgklaw.com
on behalf of Defendant Worldpay, LLC
Ira David Kharasch                                                         ikharasch@pszjlaw.com
on behalf of Defendant Consumer Legal Group, PC
Ira David Kharasch                                                         ikharasch@pszjlaw.com
on behalf of Defendant LGS Holdco, LLC
Meredith King                                                              mking@fsl.law
on behalf of Defendant Gallant Law Group                                   ssanchez@fsl.law
                                                                           jwilson@fsl.law
Meredith King                                                              mking@fsl.law
on behalf of Interested Party Courtesy NEF                                 ssanchez@fsl.law
                                                                           jwilson@fsl.law
David S Kupetz                                                             David.Kupetz@lockelord.com
on behalf of Defendant Marich Bein, LLC                                    mylene.ruiz@lockelord.com
Matthew A. Lesnick                                                         matt@lesnickprince.com
on behalf of Defendant Optimumbank Holdings, Inc. d/b/a                    matt@ecf.inforuptcy.com
Optimum Bank                                                               jmack@lesnickprince.com
Daniel A Lev                                                               daniel.lev@gmlaw.com
on behalf of Interested Party Courtesy NEF                                 cheryl.caldwell@gmlaw.com
                                                                           dlev@ecf.courtdrive.com
Yosina M Lissebeck                                                         yosina.lissebeck@dinsmore.com
on behalf of Plaintiff Richard A. Marshack                                 caron.burke@dinsmore.com
Daniel S March                                                             marchlawoffice@gmail.com
on behalf of Defendant Daniel S. March                                     marchdr94019@notify.bestcase.com
Kathleen P. March                                                          kmarch@bkylawfirm.com
on behalf of Defendant Greyson Law Center PC                               kmarch3@sbcglobal.net
                                                                           kmarch@sbglobal.net
Kathleen P. March                                                          kmarch@bkylawfirm.com
on behalf of Defendant Han Trinh                                           kmarch3@sbcglobal.net
                                                                           kmarch@sbglobal.net
Kathleen P. March                                                          kmarch@bkylawfirm.com
on behalf of Defendant Jayde Trinh                                         kmarch3@sbcglobal.net
                                                                           kmarch@sbglobal.net
Richard A Marshack (TR)                                                    pkraus@marshackhays.com
                                                                           rmarshack@iq7technology.com
                                                                           ecf.alert+Marshack@titlexi.com
Kenneth Misken                                                             Kenneth.M.Misken@usdoj.gov
on behalf of U.S. Trustee United States Trustee (SA)
Victoria Newmark                                                           vnewmark@pszjlaw.com
on behalf of Defendant Consumer Legal Group, PC
Victoria Newmark                                                           vnewmark@pszjlaw.com
on behalf of Defendant LGS Holdco, LLC
Queenie K Ng                                                               queenie.k.ng@usdoj.gov
on behalf of U.S. Trustee United States Trustee (SA)
Lisa Patel                                                                 lpatel@lesnickprince.com
on behalf of Defendant OptimumBank Holdings, Inc.                          jmack@lesnickprince.com
                                                                           jnavarro@lesnickprince.com


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Daniel H Reiss                                                             dhr@lnbyg.com
on behalf of Defendant Touzi Capital, LLC                                  dhr@ecf.inforuptcy.com
Daniel H Reiss                                                             dhr@lnbyg.com
on behalf of Defendant Eng Taing                                           dhr@ecf.inforuptcy.com
Jonathan Serrano                                                           Jonathan@MarguliesFaithLaw.com
on behalf of Plaintiff Richard A. Marshack                                 vicky@marguliesfaithlaw.com
                                                                           angela@marguliesfaithlaw.com
                                                                           amber@marguliesfaithlaw.com
Zev Shechtman                                                              Zev.Shechtman@saul.com
on behalf of Interested Party Morning Law Group, P.C.                      zshechtman@ecf.inforuptcy.com
                                                                           hannah.richmond@saul.com
Howard Steinberg                                                           steinbergh@gtlaw.com
on behalf of Defendant BankUnited, N.A                                     pearsallt@gtlaw.com
                                                                           howard-steinberg-6096@ecf.pacerpro.com
Andrew Still                                                               astill@swlaw.com
on behalf of Interested Party Courtesy NEF                                 kcollins@swlaw.com
United States Trustee (SA)                                                 ustpregion16.sa.ecf@usdoj.gov
William J Wall                                                             wwall@wall-law.com
on behalf of Witness Bradford Lee
Johnny White                                                               JWhite@wrslawyers.com
on behalf of Interested Party Courtesy NEF                                 jlee@wrslawyers.com




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